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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION


UNITED STATES OF AMERICA,                 )
               Plaintiff,                 )
                                          )
               v.                         )      2:05 CR 143 PS
                                          )
RUDOLFO HEREDIA,                          )
             Defendant.                   )

                                         ORDER


       As provided in Local Rule 79, the clerk is ORDERED to return to counsel all

exhibits, either offered or admitted in evidence, and any demonstrative exhibits, and to

obtain a receipt therefor. The items are to be retained by the attorney producing them

and remain subject to the orders of this court. Upon request, counsel shall make either

the original items or copies thereof available to opposing counsel for the designation or

preparation of a record upon appeal. It is the responsibility of counsel to maintain the

integrity of all exhibits and they are not to be altered, modified or destroyed, without

court order.



ENTER: January 5, 2006                           S/Philip P. Simon
                                                 PHILIP P. SIMON
                                                 United States District Court Judge
